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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                    --------------

UNITED STATES OF AMERICA,

                       Plaintiff,

               vs.

TODD RAYMOND BAILEY and
WENDY LYNN BAILEY,

                       Defendants.
                                               /      INDICTMENT

       The Grand Jury charges:

                                            COUNT 1
                                           (Conspiracy)

       From not later than on or about September 15, 2011 until on or about August 14, 2014, in

Ottawa County in the Southern Division of the Western District of Michigan, and elsewhere, the

Defendants,

                                    TODD RAYMOND BAILEY and
                                      WENDY LYNN BAILEY,

did knowingly conspire, confederate, and agree with one another, and with other persons known

to the Grand Jury, to make false statements and representations in the acquisition and disposition

(A&D) records of Special Weapons, Inc. and Coharie Arms, Inc., that they were required by law

to maintain, regarding firearms manufactured and sold/transferred by those businesses, and to

fail to maintain such records on the licensed premises of those businesses, in violation of Title

18, United States Code, Section 922(b)(5).

       In furtherance of the conspiracy, and to effect its object, the Defendants made and caused

to be made approximately 539 false entries in the A&D records for Special Weapons stating that
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firearms manufactured in the Western District of Michigan had been transferred to “Weapons

Imports” in Scottsdale, Arizona, when in fact they had been shipped directly from Michigan to

purchasers at other locations; they made and caused to be made approximately 182 false entries

in the A&D records for Coharie Arms stating that firearms manufactured in the Western District

of Michigan had been transferred to “Weapons Imports” in Scottsdale, Arizona, when in fact

they had been shipped directly from Michigan to purchasers at other locations; and they

maintained the A&D records for both Special Weapons and Coharie Arms in Hawaii, instead of

at the licensed premises for those businesses in Ottawa County. The false A&D entries included,

but were not limited to, the following: (1) on or about May 9, 2012, entries in the A&D records

for Coharie Arms falsely stating that 60 Model CA89K pistols had been shipped from Michigan

to Weapons Imports in Arizona, when in fact those items had been exported directly from

Michigan to Bangkok, Thailand; (2) on or about September 4, 2012, entries in the A&D records

for Coharie Arms falsely stating that two Model CA33 machineguns had been shipped from

Michigan to Weapons Imports in Arizona, when in fact those items had been exported directly

from Michigan to Bangkok, Thailand; (3) on or about November 19, 2013, entries in the A&D

records for Coharie Arms falsely stating that six Model CA89K pistols had been shipped from

Michigan to Weapons Imports in Arizona, when in fact those items had been exported directly

from Michigan to Pretoria, South Africa; (4) on or about December 13, 2013, entries in the A&D

records for Special Weapons falsely stating that 11 Model SW89 firearms had been shipped from

Michigan to Weapons Imports in Arizona, when in fact those items had been shipped directly

from Michigan to purchasers in New York, Nevada, Nebraska, Indiana, Ohio, Florida, and

Colorado; and (5) on or about January 17, 2014, entries in the A&D records for Special Weapons

falsely stating that three Model SW89 firearms had been shipped from Michigan to Weapons



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Imports in Arizona, when in fact those items had been shipped directly from Michigan to

purchasers in Virginia, Texas, and Wyoming.

18 U.S.C. § 371
18 U.S.C. § 922(b)(5)




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                                         COUNT 2
         (Failure by Federally Licensed Manufacturer/Dealer to Keep Correct Records)

       From not later than on or about September 15, 2011 until on or about August 14, 2014, in

Ottawa County in the Southern Division of the Western District of Michigan, and elsewhere, the

Defendants,

                                TODD RAYMOND BAILEY and
                                  WENDY LYNN BAILEY,

being licensed manufacturers and dealers of firearms within the meaning of Chapter 44, Title 18,

United States Code, failed to maintain records that they were required to keep pursuant to

Section 923(g)(1)(A) of Title 18, United States Code, and aided and abetted each other in doing

so, by knowingly making false statements and representations in the acquisition and disposition

(A&D) records of Special Weapons, Inc. and Coharie Arms, Inc. regarding firearms

manufactured and sold/transferred by those businesses, and by willfully failing to maintain such

records on the licensed premises of those businesses.

18 U.S.C. § 922(b)(5)
18 U.S.C. § 924(a)(1)(A), (D)
18 U.S.C. § 2
27 C.F.R. § 478.125(e)
27 C.F.R. § 478.121(a)




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                                         COUNT 3
                          (Unauthorized Possession of Machineguns)

       From on or about August 5, 2013 until on or about March 20, 2014, in Ottawa County in

the Southern Division of the Western District of Michigan, the Defendant,

                                TODD RAYMOND BAILEY,

did knowingly possess six Coharie Arms Model CA5 9mm machineguns, serial numbers C19-

00001, C19-00002, C19-00003, C19-00004, C19-00005, C19-00006, that he was not authorized

to possess.

18 U.S.C. § 922(o)
18 U.S.C. § 921(a)(23)
26 U.S.C. § 5845(b)
18 U.S.C. § 924(a)(2)

                                                   A TRUE BILL


                                                   _________________________________
                                                   GRAND JURY FOREPERSON
ANDREW BYERLY BIRGE
United States Attorney


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HAGEN WALTER FRANK
JUSTIN M. PRESANT
Assistant United States Attorneys




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